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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: August 19, 2016.

                                                         ________________________________________
                                                                    CRAIG A. GARGOTTA
                                                            UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


   In re:                                         §
                                                  §      CHAPTER 11 CASE
   JEFFREY HERMANN JAFFE,                         §
                                                  §      CASE NO. 16-50355 -CAG
   Debtor                                         §


   AGREED ORDER GRANTING MOTION OF MORRIS D. JAFFE JR. RELIEF FROM
    STAY TO ALLOW HIM TO PROSECUTE PENDING LITIGATION IN THE 37th
           JUDICIAL DISTRICT COURT OF BEXAR COUNTY, TEXAS

            On this date, came on for consideration the Motion for Relief from Stay (“Motion”) to

  allow Morris D. Jaffe, Jr. to prosecute a lawsuit currently pending in the 37th Judicial District

  Court of Bexar County, Texas. The Court, having reviewed the Motion and responses thereto, and

  considered the agreement between the Debtor, the Movant and International Bank of Commerce



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  announced at the hearing, and finding that proper notice was given to all parties in interest,

  accepted the agreement of the parties as the orders of the Court, it is therefore

            ORDERED and AGREED that the Motion for Relief from Stay is hereby granted and that

  the automatic stay is lifted to allow Movant and International Bank of Commerce (“IBC”) to

  proceed with the lawsuit pending in the State District Court in Bexar County, Texas styled Jeffery

  H. Jaffe and Eugenia C. Jaffe v. Morris D. Jaffe, Jr. and International Bank of Commerce, Cause

  No. 2015-CI-09593 (the “Litigation”), subject to the terms and conditions set forth herein; it is

  further

            ORDERED and AGREED that the automatic stay is further modified to the extent

  necessary to permit Movant and IBC to take any action and record any documents necessary to

  extend, renew or otherwise modify the loan and related documents evidencing the loan by IBC to

  Movant collateralized by Movant’s loan to the Debtor; it is further

            ORDERED and AGREED that Movant, IBC, the Debtor and his wife, Eugenia C. Jaffe

  (“Mrs. Jaffe”) shall enter into the agreed judgment attached hereto as Exhibit “A” (the “Judgment”)

  dismissing with prejudice all claims against Movant and IBC in the Litigation and authorizing

  Movant and IBC to proceed with foreclosure under the terms of the Texas Home Equity Note and

  Texas Home Equity Security Instrument and the laws of the State of Texas; and it is further

            ORDERED and AGREED that Movant and IBC shall forbear from entering the Judgment

  in the Litigation until after December 31, 2016. If the Debtor consummates the sale of the property

  at 300 Alameda Circle, San Antonio, Texas (the “Property”) on or before December 31, 2016 and

  pays Movant at closing as provided herein, the parties shall submit an agreed order dismissing the

  Litigation with prejudice and Movant shall destroy the Judgment. If the Debtor fails to sell the

  Property by December 31, 2016, Movant and IBC may enter the Judgment in the Litigation and



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  proceed with any and all acts necessary to foreclose upon the Property. The Debtor and Mrs. Jaffe

  shall not oppose or otherwise interfere with any proceedings by Movant or IBC to foreclose upon

  the Property; and it is further

            ORDERED and AGREED that Movant shall not enter the Judgment without further order

  of the Bankruptcy Court to the extent that Debtor’s performance of his obligations is prevented by

  an Event of Force Majeure that arises after the date this order is entered by the Court. “Event of

  Force Majeure" means an event beyond the control of the parties to this Order, which prevents the

  Debtor from complying with any of its obligations under this Order, limited to: (i) an act of God

  (such as, but not limited to, fires, explosions, earthquakes, drought, tidal waves and floods); (ii)

  war, hostilities (whether war be declared or not), invasion, act of foreign enemies, mobilisation,

  requisition, or embargo; (iii) rebellion, revolution, insurrection, or military or usurped power, or

  civil war; (iv) contamination by radio-activity from any nuclear fuel, or from any nuclear waste

  from the combustion of nuclear fuel, radio-active toxic explosive, or other hazardous properties of

  any explosive nuclear assembly or nuclear component of such assembly; (v) riot, commotion,

  strikes, go slows, lock outs or disorder; or (vi) acts or threats of terrorism; and it is further

            ORDERED and AGREED that the proofs of claim filed by IBC (Claim No. 6) and Movant

  (Claim No. 9) represent claims by each for their respective interests in the same indebtedness

  arising from the Texas Home Equity Note and Texas Home Equity Security Instrument; and it is

  further

            ORDERED and AGREED that Movant and IBC shall accept payment in the amount of

  $3,500,000.00, jointly payable to IBC and Movant, in full satisfaction of their claims against the

  Debtor and their liens and interests in the Property, provided the payment is received on or before

  December 31, 2016 (the “Settlement Payment”). For avoidance of doubt, the Settlement Payment



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  excludes any amount owed to any other creditor whose claim is secured by a lien on the Property.

  Provided no actions are taken in the Litigation which might delay or interfere in any manner with

  foreclosure upon the Property, IBC and Movant will accept the Settlement Payment, in full

  satisfaction of their claims against the Debtor and their liens and interests in the Property, provided

  the payment is received on or before sale of the Property by order of the court presiding over the

  Litigation; and it is further

          ORDERED and AGREED that the Debtor shall incorporate the terms of this Order into

  any plan of reorganization the Debtor proposes.

                                                   ###


  ACCEPTED AND AGREED TO THIS
   25th day of July, 2016:
  _____




    /s/ Morris D. Jaffe, Jr.
  ________________________________
  Morris D. Jaffe, Jr.




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       /s/ Raymond W. Battaglia
  By:_____________________________
    Raymond W. Battaglia
    State Bar No. 01918055

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        /s/ Michael G. Colvard
  By: ____________________________
      Michael G. Colvard
      State Bar No. 0462920

  ATTORNEYS FOR INTERNATIONAL BANK
  OF COMMERCE


   /s/ Jeffrey H. Jaffe
  _______________________________
  Jeffrey H. Jaffe




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       /s/ Steven G. Cennamo
  By: ____________________________
   Steven G. Cennamo
   State Bar No. 04045600

  ATTORNEYS FOR JEFFREY H. JAFFE



   /s/ Eugenia C. Jaffe
  _______________________________
  Eugenia C. Jaffe




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                                        Exhibit
                                                   exhibitsticker.com




                                          A
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